                      Case 1:23-mj-00051-GMH Document 1 Filed 03/06/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
  Michael Mackrell, (DOB: XXXXXXXXX)                                 )      Case No.
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                          Defendant


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                in the
                     LQWKH'LVWULFWRI          &ROXPELD , the defendants violated:
            Code Section                                                    Offense Description

   18 U.S.C. § 111(a)(1) - Forcibly Assault, Resist, Oppose, Impede, Intimidate, or Interfere with Certain Officers or
   Employees
   18 U.S.C. §§ 1752(a)(1), (2), and (4) - Knowingly Entering or Remaining in any Restricted Building or Grounds
   Without Lawful Authority with Intent to Impede or Disrupt the Orderly Conduct of Government Business or Official
   Functions
   18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
   40 U.S.C. § 5104(e)(2)(F) - Violent Entry and Disorderly Conduct on Capitol Grounds
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                                Complainant’s signature

                                                                                       Amihr Bess, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                     G. Michael           Digitally signed by
Date:             3/6/2023
                                                                                     Harvey               G. Michael Harvey
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G.Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
